907 F.2d 157
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA., Appellant,v.The UNITED STATES, Appellee.
    No. 90-1092.
    United States Court of Appeals, Federal Circuit.
    June 7, 1990.
    
      Before NIES, Circuit Judge, BENNETT, Senior Circuit Judge, and RUDI M. BREWSTER,* District Judge.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    
      
        *
         Judge Rudi M. Brewster of the United States District Court for the Southern District of California, sitting by designation
      
    
    